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                               UNITED STATES DISTRICT COURT

                                     DISTRICT OF NEVADA


BARTELL RANCH, LLC, a Nevada                 )   Case No. 3:21-cv-00080
limited liability company and EDWARD         )
BARTELL,                                     )   COMPLAINT
                                             )
                               Plaintiffs,   )
                                             )
   v.                                        )
                                             )
ESTER M. MCCULLOUGH,                         )
Winnemucca District Manager, Bureau of       )
Land Management, BUREAU OF LAND              )
MANAGEMENT,                                  )
                                             )
                               Defendants.   )




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INTRODUCTION

        1.     Plaintiffs Bartell Ranch, LLC and Edward Bartell (collectively, “Bartell Ranch”)

challenge the decision by Defendant Ester M. McCullough, District Manager for the Winnemucca

District of the Bureau of Land Management (“BLM”), Department of Interior, to approve the

Thacker Pass Lithium Mine Project (the “Mine”), a proposal for a massive open pit lithium mine

with a disturbance area covering more than 5,000 acres and a total project area covering more than

17,000 acres of federal public land administered by BLM. Bartell Ranch is the holder of a federal

grazing permit, private ranch lands, and water rights that are imminently threatened with

irreparable harm by the construction and operation of the Mine. The Mine likewise threatens

irreparable harm to fish, wildlife, wetlands, and streamflows, including habitat for the Lahontan

Cutthroat Trout (“LCT”), which is listed as threatened under the Endangered Species Act (“ESA”).

        2.     On January 15, 2021, Defendant McCullough signed a Record of Decision

(“ROD”) approving the Mine. The ROD selected Alternative A, the Proposed Action, from a

December, 2020 Final Environmental Impact Statement (“FEIS”), which was prepared by

consultants for the project proponent, Lithium Nevada Corporation (“LNC”), and which presents

a one-sided, deeply-flawed, and incomplete analysis and characterization of the proposed project

and its likely adverse environmental impacts, and in particular to water resources affecting

wetlands, streamflows, LCT and LCT habitat, as well as the water rights and private rangelands

held and owned by Bartell Ranch.        The project consultants relied upon grossly inaccurate,

incomplete, and inadequate data for constructing baselines and models purporting to estimate

impacts to water resources caused by the groundwater pumping that would be associated with the

Mine.    The project consultants did so in a manner that masks, or will mask, the likely



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environmental impacts and, in addition, makes the proposed mitigation concepts and strategies

meaningless, inadequate and ineffective.

        3.     As described in the FEIS and approved in the ROD, the Mine will be located

entirely on public land administered by BLM in Humboldt County, Nevada. The sprawling 17,933-

acre project area is to be located approximately 17 miles north-northwest of Orovada, Nevada, in

a highly sensitive ecological area that is famously dry, with a commensurately limited and delicate

network of water resources. The Mine will require pumping substantial quantities of groundwater

for its operations, at 2,600 acre-feet annually during Phase 1, and 5,200 acre-feet annually during

Phase 2. The groundwater reserves within the “Orovada Subarea,” where this pumping will take

place, is already overallocated by approximately 30,271 acre-feet a year. Additionally, the

approximately 400’ deep open pit will draw down water tables, and the North and South

Exploration operations will drop water tables by allowing water to flow from upper aquifers to

lower aquifers, as has happened with prior LNC exploration. In addition, the Mine intends to use

a mining and processing method that will involve the use of millions of tons of toxic sulfuric acid

and the deposit of contaminated tailings containing sulfates, arsenic, antimony, and uranium.

       4.      The Mine and the associated pumping will pose significant adverse harm to several

sensitive and protected species—including LCT and Greater Sage Grouse—through direct,

indirect, and cumulative impacts. It is well-established within the academy of hydrological science,

as well as within Ninth Circuit case law, that excessive groundwater pumping in an already-

overallocated basin is inextricably linked to reductions in streamflows within the hydrological

nexus. In addition, in signing the ROD, BLM has wholesale ignored the inconsistency of the Mine

with BLM’s Sage Grouse plans and associated regulations.

       5.      Immediately north of the proposed Mine site are several perennial streams known

to be inhabited by LCT, and the presence of which is well-understood and comprehensively
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documented throughout decades of catalogued research and reports completed by the Nevada

Department of Wildlife (“NDOW”) in conjunction with the U.S. Fish and Wildlife Service

(“FWS”). Two of the streams immediately to the north of the proposed Mine location where LCT

are known to inhabit are Pole Creek and Crowley Creek. Indeed, in NDOW’s 2012 LCT Study for

the Western Region, one of the specific objectives of the study was identifying genetically-pure

LCT in Crowley Creek via electroshocking, and then transporting them in aerated tanks to various

reaches of Pole Creek where they were then released to supplement the Pole Creek population.

This effort was described as one “to salvage and protect the last pure LCT within the Crowley

Creek drainage,” which was undertaken through “extensive genetic sampling and mapping,

salvaging pure LCT and reintroducing them into the Pole Creek tributary of Crowley Creek[,]”

and confirms the existence and importance of the Pole Creek LCT population to the continued

existence and recovery of the species.

       6.       In approving the FEIS and ROD for this project, BLM acknowledges that the

Mine’s proposed pumping volume has “the potential for mine related groundwater aquifer

drawdown,” and that “[w]ater produced and used by the mine from the proposed production wells

could also affect surface water stream flows in nearby perennial and intermittent streams or

springs.” In the FWS 1995 Recovery Plan for the Lahontan Cutthroat Trout, “[r]eduction and

alteration of stream discharge” is listed as the very first of the “[m]ajor impacts to LCT habitat and

abundance[.]”

       7.       Instead of adhering to the statutory duties imposed upon the agency with respect to

the protection of sensitive species such as the LCT, BLM relied entirely upon flawed and error-

laden findings made by a third-party contractor that compiled data for the EIS at the direction of,

and in return for payment from, the project applicant LNC. The FEIS made the arbitrary and

capricious finding that the proposed Mine and its associated pumping would not pose any threat
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to ESA-listed LCT, noting in the FEIS that “[a]ccording to Piteau Associates, simulated flow

losses to [Lahontan Cutthroat Trout] occupied reaches of Crowley and Pole Creek due to water

use requirements from the proposed Project would not be expected.” In completely ignoring

impacts to LCT, LCT habitat, and other sensitive wildlife species and habitats, BLM acted in a

manner that is arbitrary, capricious, an abuse of discretion, and contrary to law under the National

Environmental Policy Act (“NEPA”) 42 U.S.C. §§ 4321–61, Federal Land Policy and

Management Act (“FLPMA”), 43 U.S.C. §§ 1701–1787, and Administrative Procedure Act

(“APA”), 5 U.S.C. § 701 et seq., requiring vacatur of the ROD by this Court.

       8.      For example, but without limitation, BLM approved the ROD based on the FEIS’s

inadequate, incomplete, and, in several cases, misrepresented analysis and collection of the

baseline streamflow data and, thereby, failed to consider the likely impacts of the Mine on the LCT

population in Pole Creek. In the FEIS, BLM relied upon reports that make the conclusory and

objectively inaccurate determination that “Pole Creek is an ephemeral stream.” The existence of a

residential LCT population necessarily precludes the characterization of this stream as anything

other than a perennial stream. As a result of the objectively inaccurate characterization of the

perennial flows on Pole Creek, the FEIS’s data on pre-mining calibration flux targets and all other

modeling based upon this incorrect data and characterization as an “ephemeral creek” are

fundamentally flawed.

       9.      By approving the ROD based on the FEIS’s inadequate, incomplete, and in some

cases objectively flawed collection of baseline data, the ROD was approved based on the FEIS’s

inadequate and incomplete analysis of likely impacts of the Mine on LCT and LCT habitat. Even

though the FEIS acknowledged that the Mine-associated pumping will have an impact on the

groundwater levels and surface flows (and even that the test-pumping conducted during the



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analysis impacted groundwater tables), the FEIS failed to address the likely direct, indirect, and

cumulative impacts of the Mine on LCT and their habitats, in violation of NEPA.1

        10.      If the proposed Mine project is allowed to commence—permanently altering the

water table and streamflows that an ESA-protected species rely on—it will cause irreparable harm

to LCT and their habitat in Pole Creek, which flows immediately north of the project area.

Construction of the Mine is imminent, with Phase 1 of the project commencing as early as 2021,

with mining and ore-processing estimated to commence as early as 2022. Accordingly, Plaintiffs

seek immediate relief, including preliminary injunctive relief, from this Court to set aside and

remand BLM’s ROD and FEIS, order BLM to prepare a new, lawful FEIS, enjoin the project and

preserve the environmental status quo during the interim period, and protect the ecological

integrity of Pole Creek and the residential LCT therein, as well as the host of other environmental

impacts that were ignored by BLM in the FEIS and in approving the ROD.

JURISDICTION AND VENUE

        11.      Jurisdiction is proper in this Court under 28 U.S.C. 1331 (federal question) because

this action arises under the laws of the United States, including NEPA, 42 U.S.C. §§ 4321–4370(h),

the APA, 5 U.S.C. § 701 et seq., the Declaratory Judgment Act, 28 U.S.C. § 2201 et seq., and the

Equal Access to Justice Act, 28 U.S.C. § 2412 et seq. An actual, justiciable controversy exists

between the parties, and the requested relief is therefore proper under 28 U.S.C. §§ 2201–2202

and 5 U.S.C. § 701–06.

        12.      Venue is proper in this Court under 28 U.S.C. § 1391 because all or a substantial




1
  Contemporaneously with filing this Complaint, Bartell Ranch is serving a 60-day notice of intent to sue on the
BLM, other appropriate federal agencies, and LNC, providing notice of violations of the Endangered Species Act
(“ESA”), 16 U.S.C. §§ 1531, et seq. Following the 60-day notice period, Bartell Ranch intends to amend this
Complaint to allege violations of the ESA, including that BLM failed to undertake formal consultation under Section
7 of the ESA.
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part of the events or omissions giving rise to the claims herein occurred within this judicial district,

Defendants reside in this district, and the public lands and resources and agency records in question

are located in this district.

        13.        The federal government has waived sovereign immunity in this action pursuant to

5 U.S.C. § 702.

PARTIES

        14.        Plaintiff Edward Bartell in an individual American citizen who resides in Humboldt

County, Nevada, and owns and operates an active ranching operation (through Plaintiff Bartell

Ranch, LLC) on both private and leased public lands within the immediate vicinity of the proposed

Mine and the LCT-inhabited streams at issue in this action. Mr. Bartell is a co-owner in Bartell

Ranch, LLC. As a BLM grazing permit holder for the area at issue and a passionate steward of

the lands within and adjacent to the proposed Mine, Bartell Ranch has gone to great lengths to

protect LCT and LCT habitat in the area of the proposed Mine, and has real, genuine interests in

the species’ conservation and protection as a threatened and protected species. These actions

include moving cattle herds away from LCT habitat, as well as extensive construction of fencing

to protect surface waters with residential LCT populations in Pole Creek. Many of these efforts

were undertaken after or during communications with BLM in connection with administration of

the Bartell Ranch federal grazing permit.

        15.        Defendants’ violations of federal laws and regulations, as alleged herein, directly

harm the interests of Plaintiffs in recovery of LCT and protection of LCT habitat, which have been

and will continue to be injured and harmed by Defendants’ actions as complained of herein. Unless

the relief prayed for is granted, Plaintiffs will suffer ongoing and irreparable harm and injury to

their interests.



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       16.     In addition to Bartell Ranch’s interests in LCT, Bartell Ranch are the owners of

private ranch lands and water rights that will, like LCT habitat, be negatively impacted by the

Mine. The FEIS and ROD ignored, severely discounted, or simply mispresented the likely

negative impacts to Bartell Ranch’s water rights and the productivity of their private ranch lands

as result of flawed, incomplete, error-laden, and mispresented data collection and modeling work

done by the project consultants and blindly incorporated and relied upon by BLM in the FEIS and

ROD.

       17.     Defendant Ester M. McCullough is the District Manager of the Winnemucca

District of the BLM, and has the statutory authority and responsibility to comply with all federal

laws and regulations in the management of federal public lands at issue here, including NEPA, the

ESA, and APA. She is sued in her official capacity.

       18.     Defendant BLM is an agency or instrumentality of the United States, within the

Department of Interior, and is charged with managing the public lands and resources of the area at

issue in accordance and compliance with federal laws and regulations. BLM was the lead agency

that officially released the FEIS and subsequent ROD at issue in this action.

LEGAL BACKGROUND

       19.     NEPA, 42 U.S.C. § 4321 et seq., is our “basic national charter for protection of the

environment.” 40 C.F.R. § 1500.1(a). It serves two purposes: (1) “it ensures that the agency, in

reaching its decision, will have available, and will carefully consider, detailed information

concerning significant environmental impacts,” and (2) it “guarantees that the relevant information

will be made available to the larger audience that may also play a role in both the decision-making

process and the implementation of that decision.” Robertson v. Methow Valley Citizens Council,

490 U.S. 332, 349 (1989).

       20.     NEPA requires agencies to prepare an environmental impact statement (EIS) for
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“major Federal actions significantly affecting the quality of the human environment.” 42 U.S.C. §

4332(2)(C). The EIS must “provide full and fair discussion of significant environmental impacts.”

40 C.F.R. § 1502.1. Agencies must consider every significant aspect of the environmental impact

of a proposed action. This includes studying the direct, indirect, and cumulative impacts of the

action. See 40 C.F.R. §§ 1508.7, 1508.8.

       21.     Cumulative impacts are impacts that “result [] from the incremental impact of the

action when added to other past, present, and reasonably foreseeable future actions regardless of

what agency . . . undertakes such other actions.” 40 C.F.R. § 1508.7. Cumulative impacts “can

result from individually minor but collectively significant actions taking place over a period of

time.” Id.

       22.     In analyzing the cumulative effects of a proposed action, an agency must do more

than just catalogue “relevant past projects in the area”: it must also include a “useful analysis of

the cumulative impacts of past, present and future projects.” City of Carmel-by-the-Sea v. U.S.

Dep’t of Transp., 123 F.3d 1142, 1160 (9th Cir. 1997). Agencies must provide “some quantified

or detailed information” about cumulative impacts – “[g]eneral statements about possible effects

and some risk do not constitute a hard look absent a justification regarding why more definitive

information could not be provided.” Klamath-Siskiyou Wildlands Ctr. v. BLM, 387 F.3d 989, 993

(9th Cir. 2004). When an EIS does not “sufficiently identify or discuss the incremental impacts”

expected from successive projects, or “how those individual impacts might combine or

synergistically interact with each other to affect the [] environment,” it does not satisfy NEPA. Id.

       23.     In addition, an agency must disclose and discuss any “responsible opposing view

which was not adequately discussed in the draft statement and shall indicate the agency’s response

to the issues raised.” 40 C.F.R. §1502.9(b). “This disclosure requirement obligates the agency to

make available to the public high-quality information, including accurate scientific analysis, expert
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agency comments and public scrutiny, before decisions are made and actions are taken.” Ctr. for

Biol. Diversity v. U.S. Forest Serv., 349 F.3d 1157, 1167 (9th Cir. 2003).

        24.       BLM has breached its statutory duties and abused its discretion under NEPA by

relying upon a one-sided, inadequate, in in many cases misrepresented data, modeling, and analysis

in the FEIS to approve the ROD for the Mine and associated groundwater pumping while

downplaying or ignoring a host of significant environmental impacts.

STATEMENT OF FACTS

        25.       The area of the proposed Mine, situated deep in northern Nevada’s high desert, is

a spectacular area with a rich geological and ecological diversity, wildlife habitat, and recreation

opportunities.

        26.       Despite being in the high desert, several perennial, but sensitive and delicate,

spring-fed streams flow through the area at issue in this action. At least two of these streams—

Pole Creek and Crowley Creek—are inhabited by residential populations of LCT, which were

listed under the ESA as “endangered” in 1970, and then as “threatened” in 1975. Pole Creek and

Crowley Creek are immediately north of the proposed footprint for the mining operation subject

to this action.

        27.       The lands subject to this action also benefit from water tables that are abnormally

high; so high that vegetation can access wetted soil. As water levels drop in this area, the lands are

quickly converted from productive grasslands to barren desert. Big game species and Greater Sage

Grouse depend on the numerous springs in this area for drinking water, and migratory waterfowl

are dependent upon the down-system wetlands that exist due to the abnormally high water tables.

This area is home to one of the largest Greater Sage Grouse populations in northern Nevada, and

one of the few areas with streams that host residential populations of native LCT outside of the

Truckee Basin.
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       28.     As holders of several vested, certificated, and permitted water rights for irrigation

and stock watering in the area subject to this action, Plaintiffs are intimately familiar with the

sensitivity of the hydrology. These water rights include groundwater rights with wells in the area,

enabling Plaintiffs to measure groundwater levels. Accordingly, Plaintiffs have been and continue

to be uniquely situated so as to both assess the efficacy of the test pumping data compiled by

LNC’s contractor (and subsequently adopted into the FEIS), and to suffer significant injury caused

by initiation of this mining operation.

       29.     Through the data and reports compiled by LNC and its consultants—subsequently

adopted by BLM wholesale and incorporated into the FEIS—it can be seen that even after a short

period of test pumping, LNC’s proposed production well has already shown harmful impacts to

water levels in one of Plaintiffs’ stock water wells. Thus, the substantial groundwater pumping

planned by LNC in conjunction with its mining-related operations poses an imminent threat not

only to Plaintiffs’ existing water rights, but also to streamflows, the sensitive terrestrial and

riparian species that depend on them for survival, and the entire ecosystem as a whole.

       30.     Plaintiffs hold the approximately 50,000-acre Crowley Creek grazing lease, which

is immediately to the north and west of the proposed open pit and within the proposed project area

for the Mine. Within the boundaries of that lease, Plaintiffs own a 320-acre parcel of land through

which Crowley Creek flows. This parcel of Plaintiff’s private land is approximately 1.5 miles from

the proposed “North Exploration Area” within the FEIS. The confluence of Crowley and Pole

Creeks is within the Mine’s “North Exploration Area,” as well as most of Lower Pole Creek. Even

more disturbing is the fact that a considerable reach of Pole Creek (which is home to a resident

population of ESA-listed LCT) flows directly through the Mine’s area of operations, inside the

“Disturbance within the Proposed Project Area” boundary, upstream of the confluence with

Crowley Creek (which is also known to be inhabited by LCT).
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       31.     The NDOW and FWS have put great effort and energy into studying and protecting

the residential populations of LCT in Pole and Crowley Creeks, immediately north of the proposed

Mine site. After introductions of non-native trout species into these systems, LCT began to

hybridize with the non-native fish in Pole Creek. In an effort to mitigate the genetic dilution of the

protected species, Pole Creek was chemically treated to eliminate non-native fish and genetically-

pure LCT were collected in Crowley Creek (for which Pole Creek is a tributary) and then

transported and reintroduced into Pole Creek by the NDOW in 2012. Over the years, Plaintiffs

have undertaken great efforts to protect Pole Creek in order to enhance conditions for LCT.

Plaintiffs are active participants in the conservation efforts of LCT in this water-sensitive area, and

are substantially invested and interested in the conservation and protection of this ESA-listed

species.

       32.     The harm caused by over-pumping the groundwater in this area to the sensitive

hydrological conditions not only means harm to forage availability for grazing purposes, but it

means harm to Greater Sage Grouse and LCT and LCT habitat. Through their endeavors to be

good stewards of this land and the ecosystems therein, Plaintiffs know that fluctuations to the water

table, which will be caused by the monumental volume of groundwater pumping proposed by this

project, create an immediate and significant threat to the sensitive balance that exists on this unique

landscape. There exists a delicate balance to the biological status quo of this landscape that is

maintained in large part through Plaintiffs’ disciplined rotational grazing practices, mindful water

use, and being proactive and flexible land stewards and managers.

       33.     Over the course of the efforts related to protecting the LCT habitat, Plaintiffs have

met with BLM staff several times to discuss LCT-issues on Pole Creek, and BLM has prepared

NEPA documentation related to the fencing efforts to protect Pole Creek and its resident LCT

populations. Plaintiffs' rotational grazing operation and extensive fencing efforts were designed to
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minimize impacts to LCT habitat and protect this vulnerable species and its riparian habitat. Prior

to LNC even beginning its work on the application for this Mine, BLM has been well aware that

Pole Creek is both a perennial stream and that it contains a residential population of the ESA-listed

and protected LCT.

       34.     Over the course of the last several years, “studies” on the water features of this area

have been paid-for and carried out on behalf of LNC in conjunction with the application process

to develop this Mine. Within these studies are numerous erroneous figures that purport to show

that Pole Creek is an ephemeral stream that lacks any standard annualized flow. On numerous

occasions—through correspondence with BLM, LNC, and LNC’s contractors, as well as

comments submitted throughout the scoping process—Plaintiffs have informed BLM that

perennial reaches (those with year-round flow) of Pole Creek were being erroneously labeled as

ephemeral (flows that only exist briefly after rainfall or snowmelt). Hence, both LNC’s

contractors, LNC itself, and the BLM have been aware of these inaccuracies in the data since

before the EIS process even began.

       35.     BLM accepted reports submitted by LNC and completed on its behalf that form the

basis of the FEIS that mischaracterize Pole Creek as “an ephemeral stream” with sections that

“may” flow perennially, “but are not continuous year-round.” Not only is this characterization of

Pole Creek (as an ephemeral stream, but one with non-continuous perennial reaches) a completely

nonsensical and contradictory statement in and of itself, but it is well-established in studies and

reports completed by NDOW that Pole Creek is considered a perennial stream that has resident

LCT. This “ephemeral” distinction for the entirety of Pole Creek in the FEIS is at odds with the

fact that NDOW and FWS recognize Pole Creek as a perennial stream.

       36.     Despite awareness of these inaccuracies in the baseline data, BLM accepted the

objectively flawed Hydrologic Data Collection Report (“Report,” compiled by the applicant
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LNC’s contractors) into its baseline data for the FEIS. This Report purports that the entirety of

Pole Creek is an ephemeral stream. These inaccuracies were then used to calibrate groundwater

modeling which comprise the central basis of BLM’s decision-making in the draft EIS. The

groundwater-modeling was calibrated using calibration flux targets of zero flow for all reaches of

Pole Creek.

       37.     In the FEIS, in response to objections from Plaintiffs regarding the flaws and

omissions in the data relied upon within the draft EIS, BLM (and, thereby, LNC) advanced the

position that even though LNC’s contractors calibrated the groundwater model with zero flow for

all reaches of Pole Creek, the model still somehow arrived at the correct baseflow. Supporting this

reasoning, BLM incorporated new data provided by LNC into the FEIS, which the public had

never seen before. As Plaintiffs noted in their comments to the FEIS, which was supported by an

expert hydrologist, these new data are highly erroneous and controversial due to site bias and

failure to consider evapotranspiration, and even then, they still do not match the modeled data.

       38.     BLM also failed to require LNC to establish long-term gauging stations on any

portion of Pole Creek, or to correct any of the clearly erroneous calibration flux targets for Pole

Creek. Instead, BLM accepted this after-the-fact flow data with little to no explanation in the FEIS

in order to backfill clear errors in the Report. Amazingly, in the Report, LNC’s contractors only

documented two (2) side channel springs that feed Upper Pole Creek and Middle Pole Creek, while

ignoring the flow in the main channel of the Creek itself, and numerous other springs along

Upper/Middle Pole Creek. Furthermore, photographs that accompany the Report purport to

represent a particular Spring that was allegedly measured (SP-036) were taken a substantial

distance downstream from the actual spring itself. Likewise, BLM refused to consider NDOW

data presented in Plaintiffs’ comments on the perennial flows of Pole Creek from 2020, 2009,

2003, 1998, and 1987, and instead, unbelievably, opted to base its “ephemeral” characterization of
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this entire stream solely on the LNC contractors’ improperly-collected data from two (2) solitary

side channels that feed Pole Creek, instead of any actual data from the mainstem of Pole Creek

itself. There are countless other omissions and errors in the baseline data upon which LNC’s

contractors’ Report is based that were addressed in detail within the numerous comments

submitted by Plaintiffs following the publication of the draft EIS and the FEIS.

       39.     LNC’s own Report—paid for and submitted in support of its application—also

shows that LNC mining operation is significantly altering the area’s hydrology by as much as 90-

feet in certain areas where exploratory wells were dug by LNC, in addition to falsifying key pump-

result data graphing to arbitrarily move elevations of separate test wells so as to argue that water

elevation levels are lower in the area at issue and thereby erroneously minimize the potential

impacts of long-term pumping.

       40.     Despite being aware of the errors in the baseline data, the FEIS makes the following

two contradictory conclusions: (1) “[w]ater produced and used by the mine from the proposed

production wells could also affect surface water stream flows in nearby perennial and intermittent

streams or springs[;]” and (2) “[a]ccording to Piteau Associates [LNC], simulated flow losses to

LNC occupied reaches of Crowley and Pole Creek due to water use requirements from the

proposed Project would not be expected.” These statements are irreconcilable and highlight the

gross material errors in the FEIS, which states, falsely, that the Mine will have no impact on LCT

or LCT habitat, despite acknowledging more generally elsewhere in the FEIS that water used by

the Mine could, indeed, effect surface water stream flows—i.e., LCT habitat.

       41.     Despite this Mine’s potential to reduce streamflow on nearby perennial and

ephemeral streams, BLM opted for its proposed Alternative A, which extends the 10-foot threshold

drawdown area only a mere 1.4 miles from the project area.       The modeled 10-foot drawdowns

are compromised by erroneous model inputs. Moreover, the 10-foot drawdowns are the alleged
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extent of confidence in model accuracy, not the extent of impacts. Any drawdown underneath

springs supplying water to Pole Creek will impact flows, and by extension LCT habitat.

       42.     LNC’s contractors doctored and/or misreported the data that BLM unquestioningly

incorporated into the FEIS, which had the effect of materially altering the baseline, associated

modeling, and the public disclosure of environmental impacts and, if not corrected, will aid LNC

in avoiding the triggering of the proposed mitigation measures.

       43.      BLM did more than simply incorporate the data submitted by LNC contractors into

the FEIS; the erroneous data constitutes the vast majority of the baseline hydrological data utilized

and relied upon in the FEIS.

       44.     With respect to BLM’s statutory consultation duties associated with approving a

project with known ESA-listed species’ habitat immediately adjacent to and even within the project

area boundaries, BLM likewise failed to initiate a consultation with FWS as required by Section 7

of the ESA. Plaintiffs included an inquiry in their comments as to why this statutorily-mandated

consultation process had not been initiated, to which BLM tersely responded: “[e]ffects on LCT

are not anticipated to occur from the project, therefore, no formal Section 7 consultation was

required.” Insofar as it has been disclosed to the public in the NEPA process, including the FEIS,

this single sentence is the entirety of BLM’s consideration of its obligations under the ESA in

considering whether to authorize the Mine.

       45.     This failure to anticipate effects on the ESA-listed LCT and thereby initiate a formal

consultation is directly undermined by and fundamentally at odds with the following:

               a.      A stream (Pole Creek) with well-studied residential LCT population flows

       within the proposed area of surface disturbance for this project;

               b.      BLM’s own identification of mine-related environmental issues in the FEIS

       includes “modifications to existing water rights, the potential for mine related groundwater
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       aquifer drawdown, contamination of ground or surface water from unintended materials

       releases (spills) and the potential for adverse effects to groundwater resulting from surface

       water infiltration into the open pit or through above ground mine facilities. Water produced

       and used by the mine from the proposed production wells could also affect surface water

       stream flows in nearby perennial and intermittent streams or springs[;]” and

               c.     BLM’s own conclusion in the FEIS that “[i]f the flow from the perennial

       spring or stream is controlled by discharge from the aquifer affected by mine-induced

       drawdown, a reduction of groundwater levels would likely result in a reduction of the

       groundwater discharge perennial springs or streams with a corresponding reduction in

       spring flows, lengths of perennial stream reaches, and their riparian/wetland areas.”

       46.     In the section dedicated to LCT within the FEIS, BLM concisely showcases both

the arbitrary and capricious nature of its mischaracterization of Pole Creek as “an ephemeral

stream” as well as the potential for irreparable harm posed by this project in a single sentence:

“[c]onnectivity into the reaches within the project boundaries in high water years is a possibility

with spring flows (January through April) being the most likely time for LCT to move down into

the ephemeral reaches. During high water years, care must be taken not to disturb Pole and

Crowley Creek until after the water naturally recedes out of the ephemeral portion.”

       47.     Accordingly, not only does this reference to isolated and identifiable “ephemeral

reaches” along Pole Creek which BLM incorporates into the FEIS in Appendix P (i.e. “Pole Creek

is an ephemeral stream which originates in the Montana Range”) undermine the description of the

entirety of Pole Creek, it is an express admission that ESA-listed fish will be within the Mine’s

project boundaries during high water events, despite BLM’s failure to initiate a formal

consultation. Furthermore, despite the vague statement that “care must be taken not to disturb”

Pole Creek during high water events, there are no limits whatsoever on LNC’s ability to continue
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pumping at the outstandingly high volume of 2,600-5,200 acre-feet per year in either LNC’s water

right permits or the FEIS, rendering this cautionary statement entirely meaningless.

       48.     Plaintiffs have exhausted all necessary administrative remedies. Although BLM

has provided the public the opportunity to file an appeal of the ROD with the Interior Board of

Land Appeals (“IBLA”), an IBLA appeal is not necessary because the ROD was made effective

upon execution and would remain in effect during the pendency of the administrative appeal unless

stayed by the IBLA. The ROD is final agency action subject to judicial review under the APA and

threatens irreparable harm to Plaintiffs. Plaintiffs intend to seek preliminary injunctive relief

against the ROD from this Court.

       49.     Plaintiffs have also exhausted and preserved all issues it presents in this Complaint,

by raising its concerns with BLM during the NEPA process for the draft EIS and FEIS, as well as

through its additional correspondence with both the BLM and LNC. On information and belief,

BLM now intends to implement the final decisions approving the ROD. Implementation of the

ROD will adversely and irreparably impact the water levels, ecology, fish and wildlife habitat, and

other values on these public lands, as well as the water rights and property rights held and owned

by Bartell Ranch.

FIRST CLAIM FOR RELIEF

       50.     Plaintiffs reallege and incorporate by reference all preceding paragraphs.

       51.     This First Claim for Relief challenges BLM’s violations of the National

Environmental Policy Act, 42 U.S.C. § 4321 et seq., and NEPA’s implementing regulations in

approving the ROD based on the faulty, incomplete, and inadequate FEIS. Plaintiffs bring this

claim pursuant to the judicial review provisions of the APA, 5 U.S.C. § 706.

       52.     Defendants violated NEPA and implementing regulations in multiple respects

through issuance of the challenged ROD based on the FEIS, including but not limited to:
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            a.      Failing to take the requisite “hard look” at all of the significant and potential

     direct, indirect, and cumulative impacts of the proposed Mine and associated groundwater

     pumping on the environmental baseline, including impacts to: (1) LCT and LCT habitat;

     (2) Sage-Grouse and Sage-Grouse habitat; (3) wetlands and streamflows; (4) Bartell

     Ranch’s water rights and productivity of their private ranch lands; (5) air quality due to

     doubling the amount of sulfur proposed to be used between the draft EIS and FEIS; (6)

     visual resources based on BLM’s Visual Resource Management (“VRM”) classifications

     and associated regulations; and (7) water quality by virtue of groundwater contamination

     associated with the deposit and storage of waste rock laden with toxins such as arsenic,

     antimony, and uranium—and all without adequate baseline data and based on

     fundamentally flawed modeling and analysis;

            b.      Failing to ensure scientific integrity and failing to discuss and address

     responsible opposing views in the FEIS, in a supplemental FEIS, and/or in the ROD;

            c.      Failing to make material and necessary data and information relied upon in

     the draft EIS, FEIS and/or the ROD available to the public and Plaintiffs in a timely or

     meaningful manner;

            d.      Reliance on mitigation concepts and strategies that are based on inadequate

     or false baseline data and inadequate or fundamentally flawed models and monitoring

     schemes and not reasonably likely to occur or otherwise provide effective or meaningful

     mitigation for the likely impacts of the Mine; and

            e.      Failing to consider an adequate range of alternatives, including alternative

     mining, extraction, or processing methods or techniques that would reduce or eliminate the

     amount of sulfuric acid utilized and groundwater pumping.



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       53.      BLM’s FEIS and ROD constitute final agency actions judicially reviewable by this

Court pursuant to 5 U.S.C. § 706.

       54.      Based on their violations of NEPA and implementing regulations, BLM’s approval

of the challenged FEIS and ROD is arbitrary, capricious, an abuse of discretion, and not in

accordance with law, and will allow serious ecological degradation as well as harm to the public

and Plaintiffs’ interests, unless vacated by this Court. Accordingly, the FEIS and ROD must be

vacated and set aside pursuant to the APA, 5 U.S.C. § 706.

SECOND CLAIM FOR RELIEF

       55.     Plaintiffs reallege and incorporate by reference all preceding paragraphs.

       56.     This Second Claim for Relief challenges BLM’s violations of FLMPA, including

the requirement that the agency “take any action required to prevent unnecessary or undue

degradation of the lands and their resources or to afford environmental protection[,]” 43 U.S.C. §

1782(c); to “manage the public lands under principles of multiple use and sustained yield, in

accordance with the land use plans[,]” 43 U.S.C. § 1732(a); and to minimize impacts on soils,

vegetation, wildlife, air, water, and cultural resources, 43 C.F.R. § 8342.1(a)– (c). Plaintiffs bring

this claim pursuant to the judicial review provisions of the APA, 5 U.S.C. § 706.

       57.     Defendants have violated FLPMA in multiple respects through issuance of the

challenged ROD based on the FEIS, including but not limited to:

               a.      Allowing a processing method that involves the importation, burning, and

       disposal of millions of tons of sulfur on public lands when less environmentally harmful

       methods and techniques exist;

               b.      Allowing storage and ultimately in-pit disposal of waste rock in a manner

       that risks contaminating public lands and groundwater with toxins such as arsenic,

       antimony, and uranium;
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               c.      Failing to adequately protect and conserve Sage-Grouse and Sage-Grouse

       habitat; and

               d. Failing to comply with the Visual Resource Management designations; the FEIS

       explicitly says “Alternative A would not meet the current VRM Class II objectives, and

       would not conform with the existing ROD/RMP”.

       58.     Based on their violations of FLPMA and implementing regulations, BLM’s

approval of the challenged FEIS and ROD is arbitrary, capricious, an abuse of discretion, and not

in accordance with law, and will allow serious ecological degradation as well as harm to the public

and Plaintiffs’ interests, unless vacated by this Court. Accordingly, the FEIS and ROD must be

vacated and set aside pursuant to the APA, 5 U.S.C. § 706.

PRAYER FOR RELIEF

       WHEREFORE, plaintiffs pray for a judgment granting the following relief;

       A.      Order, adjudge, and declare that the FEIS and ROD violate NEPA and FLPMA, in

violation of the APA, 5 U.S.C. § 706;

       B.      Reverse, set aside, vacate, and remand the FEIS and ROD;

       C.      Enter temporary, preliminary, or permanent injunctive relief as hereinafter prayed

for by Plaintiffs, including by enjoining Defendants from allowing construction to commence on

the LNC Mine through ground-clearing, site preparation, or other such actions until such time as

Defendants have fully complied with law;

       D.      Award Plaintiffs their reasonable costs, litigation expenses, and attorney’s fees

associated with this litigation pursuant to the Equal Access to Justice Act, 28 U.S.C. §§ 2412 et

seq., and/or all other applicable authorities; and/or

       E.      Grant such further relief as Plaintiffs may pray for hereafter or as the Court deems



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necessary or appropriate to redress Defendants’ legal violations and protect the public lands and

resources of the sensitive area in question from further degradation.

       Respectfully submitted this 11th day of February, 2021.


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*Out-of-state counsel will comply with LR IA 11-2 within three business days of this filing.




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